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 1   CAROL ANN MOSES #164193
     Attorney at Law
 2   7636 N. Ingram Ave., #104
 3   Fresno, California 93711
     Telephone: (559) 449-9069
 4   Facsimile: (559) 513-8530

 5   Attorney for Defendant, GARRY SAMPSON

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 7

 8                                   UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                       CASE NO. 1:16-cr-00176-DAD-BAM AND
                                                      CASE NO. 1:12-cr-00028-DAD-BAM
12                      Plaintiff,
                                                         STIPULATION AND ORDER TO
13           v.                                          CONTINUE STATUS CONFERENCE ON
                                                         SENTENCING HEARING
14    GARRY SAMPSON,
                                                         Date: June 3, 2019
15                      Defendant.                       Time: 10:00 AM
                                                         Judge: Dale A. Drozd
16
            IT IS HEREBY STIPULATED by and between the Defendant GARRY SAMPSON, his
17
     attorney of record, CAROL MOSES and Assistant United States Attorney KIMBERLY A.
18
     SANCHEZ, that the status conference regarding the sentencing in the above-captioned matter
19
     now set for June 3, 2019, be continued to December 9, 2019 for a further status conference on the
20
     on the issue of sentencing Mr. Sampson.
21
            Mr. Sampson entered a plea of guilty on August 1, 2018 and was subsequently ordered
22
     released from custody and transported to The Delancey Street Foundation in San Francisco,
23
     California for a determination on Mr. Sampson’s suitability for The Delancey Street Program.
24
     Attached as Exhibit A is a letter from the program showing that Mr. Sampson remains at the
25
     program and is in compliance.
26
     ///
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 1          The government has no objection to the proposed continuance. Accordingly, the parties

 2   are requesting a continuance of the status conference to December 9, 2019 to monitor Mr.

 3   Sampson’s progress at the program, and to set another status conference for sentencing

 4   consideration.

 5          Mr. Sampson previously pleaded guilty, thus no exclusion of time is necessary.

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 7                                                      Respectfully Submitted,

 8

 9   Dated: May 23, 2019                                /s/ Carol Ann Moses
                                                        CAROL ANN MOSES
10                                                      Attorney for Defendant,
                                                        GARRY SAMPSON
11

12
     Dated: May 23, 2019                                /s/ Kimberly A. Sanchez
13                                                      KIMBERLY A. SANCHEZ
                                                        Assistant United States Attorney
14
                                                        Attorney for the United States
15

16                                                 ORDER

17          GOOD CAUSE APPEARING, the above stipulation is accepted and adopted as the order

18   of this Court in Case No. 1:16-cr-00176-DAD-BAM and in Case No. 1:12-cr-00028-DAD-BAM.
     The status conference as to Defendant GARRY SAMPSON currently scheduled for June 3, 2019,
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     at 10:00 AM is hereby continued to December 9, 2019 at 10:00 AM in Courtroom 5 before
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     United States District Judge Dale A. Drozd.
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22   IT IS SO ORDERED.

23      Dated:    May 24, 2019
                                                      UNITED STATES DISTRICT JUDGE
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